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     CANDACE GONZALES
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 9                 IN THE UNITED STATES DISTRICT COURT
10              FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
13   UNITED STATES OF AMERICA,                              Case No.: 12-CR-00213 AWI
                     PLAINTIFF,
14                                                          DEFENDANTS REQUEST AND
                                                            WAIVER OF APPEARANCE
15
     CANDACE GONZALES                                       DATE: February 25, 2013
16                                                          Time: 1:00 p.m.
                                                            Courtroom Three
17
                            DEFENDANT.                      HONORABLE BARBARA A. McAULIFFE
18
19   Defendant, CANDACE GONZALES, hereby waives her appearance in person in open court
20   upon the status conference hearing set for Monday, February 25, 2013 at 1:00 p.m. in Courtroom
21   Three of the above entitled court. Defendant hereby requests the court to proceed in her absence
22   and agrees that her interests will be deemed represented at said hearing by the presence of her
23   attorney, DAVID A. TORRES. Defendant further agrees to be present in person in court at all
24   future hearing dates set by the court including the dates for jury trial.
25
26   Date: February 22, 2013                                            /s/ Candace Gonzales
                                                                    CANDACE GONZALES
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 1                                              ORDER
 2          Good cause appearing.
 3          IT IS HEREBY ORDERED that defendant CANDACE GONZALES is hereby excused
 4   from appearing at this court hearing scheduled for February 25, 2013 at 1:00 p.m.
 5         IT IS SO ORDERED.
 6    Dated:    February 25, 2013                         /s/ Barbara A. McAuliffe
     10c20k                                          UNITED STATES MAGISTRATE JUDGE
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